Case 3:15-cv-00226-BAS-MSB Document 127 Filed 12/15/16 PageID.2788 Page 1 of 5




  1
  2
  3
  4
  5
  6
  7
  8                          UNITED STATES DISTRICT COURT
  9                       SOUTHERN DISTRICT OF CALIFORNIA
 10
 11       SECURITIES AND EXCHANGE                        Case No. 15-cv-226-BAS-DHB
          COMMISSION,
 12                                                      ORDER GRANTING SECOND
                                         Plaintiff,      INTERIM APPLICATIONS FOR
 13                                                      PAYMENT OF FEES AND
               v.                                        REIMBURSEMENT OF
 14                                                      EXPENSES
          TOTAL WEALTH
 15       MANAGEMENT, INC. and JACOB
          KEITH COOPER,
 16                                  Defendants.
 17
 18
 19          Presently before the Court in this Securities and Exchange Commission
 20   (“SEC”) enforcement action are the second interim applications for payment of fees
 21   by Kristen A. Janulewicz1 (the “Receiver”), the Court-appointed permanent receiver
 22   for Defendant Total Wealth Management Inc. and its subsidiaries and affiliates (the
 23   “Receivership Entities”), and Receiver’s counsel, Allen Matkins Leck Gamble
 24   Mallory & Natsis LLP (“Allen Matkins”). (ECF No. 107.) The applications cover the
 25   period July 1, 2015 through December 31, 2015 (the “Application Period”) and seek
 26
      1
 27    On June 7, 2016, the Court substituted Thomas A. Seaman for Kristen A. Janulewicz as
      Permanent Receiver. (ECF No. 102.) Seaman, as the Successor Receiver, brings this application
 28   on Janulewicz’s behalf.
                                                   –1–
                                                                                             15cv226
Case 3:15-cv-00226-BAS-MSB Document 127 Filed 12/15/16 PageID.2789 Page 2 of 5




  1   interim payment of $90,695.00 in fees incurred by the Receiver and $159,492.75 in
  2   fees and $3,892.33 in expenses incurred by Allen Matkins. Id. The SEC has reviewed
  3   the fee applications and supports the requests for interim payment in the amounts
  4   requested. (ECF No. 113.)
  5   I.    DISCUSSION
  6         A. Legal Standard
  7         “A receiver appointed by a court who reasonably and diligently discharges his
  8   duties is entitled to be fairly compensated for services rendered and expenses
  9   incurred.” SEC v. Byers, 590 F. Supp. 2d 637, 644 (S.D.N.Y. 2008). The entitlement
 10   to reasonable compensation extends to the professionals employed by the receiver.
 11   See Drilling & Exploration Corp. v. Webster, 69 F.2d 416, 418 (9th Cir. 1934). The
 12   amount of compensation to be awarded is firmly within the discretion of the district
 13   court, and generally is a charge upon the property or funds in receivership. Gaskill v.
 14   Gordon, 27 F.3d 248, 251, 253 (7th Cir. 1994). In determining the reasonableness of
 15   fees and costs requested, the court considers the time records presented, the quality
 16   of the work performed, the complexity of the problems faced, and the benefits to the
 17   receivership estate. SEC v. Fifth Ave. Coach Lines, Inc., 364 F.Supp. 1220, 1222
 18   (S.D.N.Y. 1973). The receiver bears the burden of demonstrating entitlement to
 19   payment of fees and costs in the amount requested. See 65 Am. Jur. 2d, Receivers §
 20   228 (2d ed. Feb. 2016 update). Finally, in a securities receivership, “[o]pposition or
 21   acquiescence by the SEC to the fee application will be given great weight.” Fifth Ave.
 22   Coach Lines, 364 F. Supp. at 1222.
 23         B. Receiver’s Request for Fees
 24         The Receiver’s request for $90,695.00 in fees incurred during the Application
 25   Period includes the fees of associated professionals who worked with her on behalf
 26   of the Receivership Entities. During the Application Period, the Receiver and
 27   associated professionals worked a total of 411.3 hours on behalf of the Receivership
 28   Entities, including tasks such as document review, financial analysis and forensic
                                               –2–
                                                                                     15cv226
Case 3:15-cv-00226-BAS-MSB Document 127 Filed 12/15/16 PageID.2790 Page 3 of 5




  1   accounting, investor relations, debt collection, and asset management. (ECF No. 107,
  2   Attach. 3.) The average hourly rate ranged from $65 for administrative tasks to $375
  3   for project management, with a weighted average rate of $221 per hour. (ECF No.
  4   51, Attach. 7.) The Receiver herself worked at an hourly rate of $270 (ECF No. 51,
  5   Attach. 2) and did not bill for travel time or for the cost of preparing the instant
  6   application for payment.
  7         The Court finds the Receiver’s request for $90,695.00 in fees to be reasonable.
  8   All fees incurred during the Application Period are meticulously documented and
  9   presented in such a way that the Court can clearly evaluate the tasks performed, hours
 10   expended, hourly rates, and the total fees incurred for each task category. (ECF No.
 11   107, Attach. 1, 2.) The Receiver’s hourly rate of $270, and the weighted average rate
 12   of $221 per hour, are eminently reasonable. The Receiver has made substantial
 13   progress in identifying and recovering receivership assets, including the recovery of
 14   $348,894.71 in assets during the Application Period, and more than $3.8 million
 15   overall. (Seaman Decl. ¶¶ 3, 4.) In light of the complexity of the matter, the degree
 16   of responsibility involved, and the business ability required, the number of hours
 17   expended during the Application Period is reasonable. In addition, the SEC’s stated
 18   support for the Receiver’s request weighs in favor of finding the fee application
 19   reasonable. Accordingly, the Court approves, on an interim basis, the Receiver’s
 20   request for $90,695.00 in fees incurred during the Application Period, and authorizes
 21   the payment, on an interim basis, of 90% of the fees incurred, in the amount of
 22   $81,625.50.
 23         C. Allen Matkins’ Request for Fees and Expenses
 24         During the Application Period, Allen Matkins spent a total of 378.5 hours
 25   working on behalf of the Receivership Entities, at a cumulative, weighted average
 26   rate of $421.38 per hour, for fees totaling $159,492.75. (ECF No. 107, Attach. 5,
 27   2:13–20.) In addition, Allen Matkins incurred $3,892.33 in expenses. (Id.) The firm
 28   performed a wide range of tasks assisting the Receiver during the relevant period,
                                               –3–
                                                                                    15cv226
Case 3:15-cv-00226-BAS-MSB Document 127 Filed 12/15/16 PageID.2791 Page 4 of 5




  1   including helping with an extensive investigation relating to attorneys and law firms
  2   that had represented the Receivership Entities in the pre-receivership period;
  3   recovering hundreds of thousands in additional receivership assets; performing
  4   extensive work to prepare tax returns and related materials; issuing and enforcing
  5   subpoenas; and performing the extensive work needed to prepare a lawsuit for filing
  6   against Private Placement Capital Notes II, LLC and its principal, Anthony Hartman.
  7   (Id. Attach. 6.) These efforts have substantially benefited the Receivership Entities.
  8         The Court finds that Allen Matkins’ request for fees and costs is reasonable.
  9   Allen Matkins is a well-known firm with extensive experience in federal
 10   receiverships, and the firm’s billing rates are comparable to the usual fees for
 11   similarly complex services in the community. The detailed time records submitted
 12   indicate that the firm staffed the tasks performed appropriately and efficiently based
 13   on the expertise required. (See Attach. 6) The amount requested in fees also reflects
 14   Allen Matkins’ agreement to discount its ordinary billing rates by 10%, and to delay
 15   upward adjustments of billing rates for attorneys staffed on this matter. (ECF No.
 16   107, Attach. 5, 4:21–23.) And finally, as in the case of the Receiver’s fee application,
 17   the Court ascribes great weight to the SEC’s support for Allen Matkins’ request for
 18   fees and reimbursement of expenses. (ECF No. 113.) Accordingly, the Court
 19   approves, on an interim basis, Allen Matkins’ request for $159,492.75 in fees
 20   incurred during the Application Period, and authorizes the payment, on an interim
 21   basis, of 80% of the fees incurred, in the amount of $127,594.20. In addition, the
 22   firm’s request for reimbursement of expenses in the amount of $3,892.33 is approved
 23   as reasonable.
 24   II.   CONCLUSION & ORDER
 25          For the reasons set forth above, the Court GRANTS the interim applications
 26   for fees and reimbursement of expenses for the period July 1, 2015 through December
 27   31, 2015 as follows:
 28         1. The Court APPROVES the Receiver’s second interim application for fees
                                                –4–
                                                                                      15cv226
Case 3:15-cv-00226-BAS-MSB Document 127 Filed 12/15/16 PageID.2792 Page 5 of 5




  1           in the amount of $90,695.00;
  2         2. The Court AUTHORIZES payment to Kristen A. Janulewicz of 90% of
  3           approved fees (that is, $81,625.50), on an interim basis, from the assets of
  4           the Receivership Entities;
  5         3. The Court APPROVES Allen Matkins’ application for fees in the amount
  6           of $159,492.75;
  7         4. The Court AUTHORIZES and DIRECTS the Successor Receiver to pay
  8           Allen Matkins 80% of approved fees (that is, $127,594.20), on an interim
  9           basis, from the assets of the Receivership Entities;
 10         5. The Court APPROVES Allen Matkins’ request for reimbursement of
 11           expenses, in the amount of $3,892.33, and AUTHORIZES and DIRECTS
 12           the Successor Receiver to reimburse Allen Matkins for such costs in full.
 13         IT IS SO ORDERED.
 14   DATED: December 15, 2016
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                             –5–
                                                                                  15cv226
